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                                                                                   a
                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                           ALEXANDRIA DIVISION


ROSY PAUL YOUNGER,                             CIVIL DOCKET NO. 1:20-CV-00823
Plaintiff                                                              SEC P

VERSUS                                                             JUDGE DRELL

DIANE WITTE ET AL,                       MAGISTRATE JUDGE PEREZ-MONTES
Defendants


                       REPORT AND RECOMMENDATION

       Before the Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. §

 2241 and a Motion for Preliminary Injunction (ECF No. 1) filed by Petitioner Rosy

 Younger (“Younger”). At the time of filing, Younger was a detainee in the custody of

 the U.S. Immigration and Customs Enforcement (“ICE”), detained at the LaSalle ICE

 Processing Center in Jena, Louisiana.

       Because Younger has been released, her Petition and Motion (ECF No. 1)

 should be DISMISSED WITHOUT PREJUDICE.

 I.    Background

       According to ICE, Younger is a 64-year-old native and citizen of Trinidad and

 Tobago who entered the United States at an unknown location on an unknown date.

 ECF No. 15-1 at 6.      She was determined to be inadmissible pursuant to §

 212(a)(6)(A)(i) of the Immigration and Nationality Act and was issued a Notice to

 Appear in immigration court. Id. Younger denied the allegations set forth in the



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 Notice to Appear. ECF No. 15-1 at 7. Following a hearing to establish alienage, the

 immigration judge reportedly continued the case to issue a written decision. Id.

       Younger alleges that she suffers from a long history of multiple heart

 conditions, kidney disease, asthma, high blood pressure, and diabetes, and she seeks

 a release from custody due, in part, to the COVID-19 pandemic. ECF No. 1 at 10.

       According to the Government, Younger was released from custody on January

 5, 2021. ECF No. 22.

 II.   Law and Analysis

       “Article III of the Constitution limits federal ‘Judicial Power,’ that is, federal-

 court jurisdiction, to ‘Cases’ and ‘Controversies.’” United States Parole Comm’n v.

 Geraghty, 445 U.S. 388, 395 (1980). A case becomes moot “when the issues presented

 are no longer ‘live’ or the parties lack a legally cognizable interest in the outcome.”

 Id. at 396 (quoting Powell v. McCormack, 395 U.S. 486, 496 (1969)). The case-or-

 controversy requirement “subsists through all stages of federal judicial proceedings,

 trial and appellate.” Spencer v. Kemna, 523 U.S. 1, 7 (1998) (citations omitted). The

 parties must continue to have a “personal stake in the outcome” of the lawsuit. Id.

 Therefore, throughout the litigation, the petitioner “must have suffered, or be

 threatened with, an actual injury traceable to the defendant and likely to be

 redressed by a favorable judicial decision.” Id.

       Based on the Government’s unopposed contention that Younger has been

 released (ECF No. 22), the § 2241 Petition is moot. See Dien Thanh Ngo v. Johnson,

 3:19-CV-976, 2019 WL 3468909 (N.D. Tex. July 17, 2019) (collecting cases), report



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 and recommendation adopted, 2019 WL 3459817 (N.D. Tex. July 31, 2019). If a

 controversy is moot, the court lacks subject matter jurisdiction. Carr v. Saucier, 582

 F.2d 14, 16 (5th Cir. 1978) (citing North Carolina v. Rice, 404 U.S. 244, 246 (1971);

 Locke v. Board of Public Instruction, 499 F.2d 359, 363-364 (5th Cir. 1974)).

 III.   Conclusion

        Because Younger is no longer in ICE custody, IT IS RECOMMENDED that

 her Petition and Motion (ECF No. 1) be DISMISSED WITHOUT PREJUDICE for

 lack of subject matter jurisdiction.

        Under 28 U.S.C. § 636(b)(1)(c) and Fed. R. Civ. P. 72(b), a party may file

 written objections to this Report and Recommendation within 14 days of service,

 unless the Court grants an extension of time to file objections under Fed. R. Civ. P.

 6(b). A party may also respond to another party’s objections to this Report and

 Recommendation within 14 days of service of those objections, again unless the Court

 grants an extension of time to file a response to objections.

        No other briefs may be filed without leave of court, which will only be granted

 for good cause. A party’s failure to timely file written objections to this Report and

 Recommendation will bar a party from later challenging factual or legal conclusions

 adopted by the District Judge, except if the challenge asserts “plain error.”

        SIGNED on Tuesday, February 9, 2021.


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                                            JOSEPH H.L. PEREZ-MONTES
                                            UNITED STATES MAGISTRATE JUDGE




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